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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     VICKY MALDONADO, et al.,                       Case No.3:16-cv-04067-WHO
                                                       Plaintiffs,
                                   8
                                                                                        JUDGMENT
                                                 v.
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                                  10     APPLE, INC, et al.,
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Judgment is hereby entered in accordance with the Order Granting Final Approval of

                                  14   Settlement; Awarding Attorney’s Fees, Costs, and Service Awards.

                                  15          IT IS SO ORDERED.

                                  16   Dated: April 29, 2022

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                                                                                    WILLIAM H. ORRICK
                                  18                                                United States District Judge
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